Case 0:10-cv-62264-RNS Document 83 Entered on FLSD Docket 04/27/2011 Page 1of5

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 10-C V-62264-JEM

JAMES D. SALLAH, as Receiver,
for MRT LLC and MRT Holdings LLC,

Plaintiff,

 

VS.

WORLDWIDE CLEARLING LLC;
et al.,

 

 

CLERK US. OT
UD.
Defendants. S.D. OF FLA. FT. LA

/

 

ANSWER TO THE RECEIVER’S AMENDED COMPLAINT TO AVOID
FRAUDULENT TRANSFERS AND FOR RELATED RELIEF

The Defendants RAMI SMIDI, BRET THREDWELL, DAVID MORTON, ERROL
WARNER, III, and FRANCIS MC LEAN by and through the undersigned counsel and pursuant
to the Fed. R. Civ. P. 12 and files this her Answer to the Receiver’s Amended Complaint to
Avoid Fraudulent Transfers and for Related Relief and furtherance thereof and states as follows:

GENERAL ALLEGATIONS

1. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

2. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

3. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

4, The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

 
 

. Case 0:10-cv-62264-RNS Document 83 Entered on FLSD Docket 04/27/2011 Page 2 of 5

JURISDICTIONAL AND VENUE ALLEGATIONS

5. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

6. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

7. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

 

FACTS
8. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.
9. The Defendant is without knowledge as to the truth or falsity of this allegation, !

and therefore it is Denied.

10. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

HH. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

12. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

13. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

14. The Defendant is without knowledge as to the truth or falsity of this allegation,
and therefore it is Denied.

15. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

16. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

17. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

18, The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

 

 

19. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

20. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

21. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

22. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

 
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‘ Case 0:10-cv-62264-RNS Document 83 Entered on FLSD Docket 04/27/2011 Page 3 of 5

23, The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.
24. Denied.

COUNT I-FRADULENT TRANSFER
Florida Statute §726.105 (1) (a) - False Profit Payments to the Investor Defendants

25. The Defendant reavers the answers as stated in paragraph | through 24.
26. The Defendant is without knowledge as to the truth or falsity of this allegation;
| and therefore it is Denied.
27. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.
28. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.
29. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

 

30. Denied.

31. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

32. The Defendant is without knowledge as to the truth or falsity of this allegation;

and therefore it is Denied.

COUNT II-FRADULENT TRANSFER
Florida Statute §726.105 (1) (b) - False Profit Payments to the Investor Defendants

33. The Defendant reavers the answers as stated in paragraph | through 24.

34. | The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

35. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

36. The Defendant is without knowledge as to the truth or falsity of this allegation,
and therefore it is Denied.

37, The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

38. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

39, The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

AQ. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

 

 

 

 
Case 0:10-cv-62264-RNS Document 83 Entered on FLSD Docket 04/27/2011 Page 4 of 5

COUNT HI-FRADULENT TRANSFER
Florida Statute §726.106 (1) - False Profit Payments to the Investor Defendants

 

41. | The Defendant reavers the answers as stated in paragraph | through 24.

42. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

43. | The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

44. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

45. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

46. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

47. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

 

COUNT IV —- UNJUST ENRICHMENT
False Profit Payment to the Investor Defendant

48. The Defendant reavers the answers as stated in paragraph | through 24.
49. The Defendant is without knowledge as to the truth or falsity of this allegation;
and therefore it is Denied.

50. Denied.
SI. Denied.
52. Denied.
53. Denied.

(INTENTIONALLY LEFT BLANK)
Case 0:10-cv-62264-RNS Document 83 Entered on FLSD Docket 04/27/2011 Page 5 of 5

 

 

CERTIFICATE OF SERVICE |

I] HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via E

US Mail to: Edward H. Davis, Jr., Astigarraga Davis, 701 Brickell Avenue, 16" Floor, Miami, :
FL 33131 and Jeffrey R. Sonn; Sonn & Erez, PLC, Broward Financial Center, Suite 1600, 500 Ep

East Broward Boulevard, Ft. Lauderdale, FL 33394 this \ Bi yay of April 2011.

Respectfully Submitted,

 

Horecia J. Walker, P.A.
PO Box 3062

Hallandale, FL 33008
Telephone (954) 894-9962
Facsimile (954) 446-1635

 

 

Horecia Walker, Esq. :
Florida Bar No: 0822191

 

 
